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CIIAITMAN LLP

465 PARK AVENUE
NEW YORK, NY 10022
(888) 759-1114

TELEPHONE & FAX

LANC'E GOTTHOFFE'R
Igotthoffel@chajtmanl[p. com

VIA OVERNIGHT MAIL: 7728 8357 0029

The Honorable Gregory M. Sleet

 

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Umted States Distnct Judge , j
United States Courthouse UrS Ul$?{~;g@y CS §
844 N. King street LMDFSYR fit ear QELAS:::E b
wilmington, DE 19801 W~`~J

Re: Consumer Fimlncial Protection Bureau v. National Collegiate
Master Student Loan Trust, No. 17-cv-01323-GMS (D. Del.)

Dear Judge Sleet:

I am special litigation counsel for the defendant Trusts and a member of the New York bar.
I write in connection with Your Honor’s order of July 16, 2018 relieving the firm of McCarter & ‘
English as counsel of record for Defendants, and requiring Defendants to secure new counsel
within 30 days. As set forth below, the Trusts cannot retain new counsel, and I respectfully request
a telephonic conference at the Court’s convenience to discuss whether there is a solution to this
unfortunate situation

This is an action by the Consumer Financial Protection Bureau against the Trusts for
abusive practices in the collection of student loans by the Trusts and their service providers, in
which a proposed consent judgment has been negotiated and submitted to the Court for entry. The
Trusts’ counsel, who represented the Trusts during the lengthy CFPB investigation and negotiated
the consent judgment, have not been paid for over a year and a half. This is not the fault of the

Trusts. The Trusts are on record as affirmatively stating such payments should be made.

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The problem is, Wilmington Trust Company (the Owner Trustee), GSS Data Services, Inc.
(the Administrator), and U.S. Bank N.A. (the Indenture Trustee and Special Servicer), all of whom
are seeking to intervene claiming they will be adversely affected by the proposed judgment, control
the purse strings of the Trusts. They are parties with vested interests to maintain the status quo
and prevent the CFPB and the Trusts from interfering with their wrongful handling of the Trusts’
affairs, and they have refused to take the steps required of them under the Trust Agreement, the
Administration Agreement and the Indenture to effect payment The obvious purpose is to choke
off the Trusts’ ability to retain counsel, successfully in the case of McCarter

This is not the money belonging to the Owner Trustee or the Administrator or the Indenture
Trustee It is money belonging to the Trusts, who need to use it for their legal defense here. Until
the payment issue is resolved, the Trusts are effectively being denied the right to have counsel in
this proceeding (and in spin off proceedings involving state attorneys general). For reasons the
Court may readily infer, this is not the kind of case that a Delaware law firm is going to take on
contingency

So that the Court may fully appreciate the magnitude and urgency of this matter, it should
be aware that no payments have been made since November 2016»-correct, 2016-under the
retainer agreement entered into by the Trusts with Chaitman LLP, including for this matter and
for matters pending in other courts This is true even though:

a. In October 2015, the Trusts engaged Chaitman to act as Special Counsel in connection with
litigation matters See Exh. A. Such retention agreement expressly authorized Chaitman
to retain other counsel on behalf of the Trusts (see Exh. A Section A), and other firms that
have represented the Trusts in this case - McCarter & English and DiCello Levitt & Casey

~ were retained by Chaitman pursuant to that authority

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b. The Trusts’ retention agreement with Chaitman, drafted and signed by the Owner Trustee
and its counsel and consented to by the Administrator, requires the Trusts make payment
to the firm within 30 days of each invoice (see Exh. A Section C);

c. The Owners of the beneficial interests in the Trusts, who have the right under the Chaitman
letter to direct counsel, have specifically directed the Owner Trustee and the Administrator
to take the steps necessary to effect these payments (see, e.g., Exh. B);

d. The Owner Trustee and the Administrator did process payments from November 2015
through November 2016, a process that terminated, according to the Owner Trustee,
because of unanswered questions respecting ownership issues;

e. While the ownership issue was resolved by the Delaware Chancery Court last year, the
Owner Trustee and Administrator now claim a variety of other reasons impel them to
disregard the Owners’ instructions, including that the Trust Agreements contemplate that
counsel for the Trusts will not be paid until the Trusts are wound down-a process that
may not occur for years.

f. Both McCarter and the DiCello firm have withdrawn for non-payment But while
paralyzing the Trusts by refusing to allow Trust monies to be paid to the Trusts’ lawyers,
the Owner Trustee, the Administrator and the Indenture Trustee are using Trust monies to
pay their lawyers, among other things, to oppose the requests for payment by the Trusts’
lawyers
As a consequence of the foregoing, law firms that were contractually promised payment

within 30 days, whose entitlement to payment has been admitted by the Trusts and heretofore by

the Owner Trustee, are now owed over $3 million

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It is foreseeable that the Owner Trustee and Adrninistrator will proffer a barrelful of
excuses as to why their refusals to enable the Trusts to honor their contractual obligations and pay
counsel is justified But whatever they say in this regard will be misplaced The Chaitman firm,
and the firms Chaitman retained pursuant to its retention agreement, have rendered services to the
Trusts for which they are entitled to compensation, as would be any firm now retained in this case
to replace McCarter. As to how those payments are dealt with internally by the Owner Trustee, et
al, and as to who has what responsibilities under the Trust Agreement, the Administration
Agreement or the Indenture, the lawyers are not parties to those agreements Their rights can be
determined within the four corners of the Chaitman retention agreement

Perhaps more importantly, whatever issues the Owner Trustee, Adminj strator or the
Indenture Trustee raise will be largely academic If they are allowed to continue to thwart
payment, there will be no Trust lawyers left to explain to the Court why they are wrong

lt may be noted that Chaitman has sued the Owner Trustee and the Administrator in New
York State Court over the fee issue. However, the Owner Trustee and the Administrator have
moved to dismiss for lack of jurisdiction, and there can be no certainty when that case will be
resolved and whether the Owner Trustee and Administrator will appeal an adverse determination
Further, the DiCello Levitt finn is suing the Trusts in Hlinois to confirm an award it recently
obtained in a fee arbitration there,

The CFPB has found fraud and other serious misconduct on the part of certain of the service
providers T he consequences of their actions fall on the Trusts who, as may be seen, are agreeing
to pay substantial restitution and penalties under the proposed consent judgment lt is vitally

important the Trusts be permitted to defend and to pursue entry of the consent judgment in this

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action, to put these improper activities by service providers to an end. This they cannot do unless

some provision is made at least for interim attorneys’ fees

May I respectfully request the Court schedule a telephone conference at its earliest

convenience to see if there is at least some interim solution that can be fashioned so that the Trusts

can secure legal representation to address ongoing matters

LG/ sh

I thank the Court for its attention

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L€ance Gotthoffer

Enclosures (as stated)

CC§

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VIA OVERNIGHT MAIL:
Clerk, United States District Court District of Del aware
(Tracking No. 7728 83 76 6190)

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EXHIBIT A

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Chaitman LLP
465 Park Avenue
New Yorl<, New York 10022

October 12, 2015

Wilrnington Trust Company
1100 North Marl<et Street
Wilrnington, DE 19890
Attn: Dorri Costello

Re: National Collegiate Student Loan Trusts listed on Annex A (each a “anst” and

collectively, the “Trusts”)

To Whom lt May Concern:

Wilmington Trust Company (“WTC”) serves as Trustee for and on behalf of the
owners of the Trusts (the “Owners”) listed on Annex A. At the request of the Owners,
WTC confirms its retention of Chaitman LLP (“Chaitman”) to represent the Trusts.

A. Scope of Worl<.

l. Chaitman will act as Special Counsel for the Trusts managing
litigation or other adversarial proceedings arising from or relating to
one or more Trusts by (i) providing legal services in connection with
such matters, and/or (ii) on behalf of the Trusts, selecting, engaging
and managing other law firms to provide such Services, at the
discretion of Chaitman;

2. As requested or directed by WTC or the Owners, Chaitman provide
legal services in connection with any litigation, regulatory
proceeding, inquiry or investigation arising from or relating to one
or more Trusts;

3. In the event that WTC is named in its individual capacity in any
borrower lawsuit, Chaitman will take steps to have WTC, in its
individual capacity removed as a party to the relevant lawsuit; and

4. Cormnunicate with WTC and the 0wners and interact as needed in
Special Counsel’s discretion with the Administrator, Indenture
Trustee, various servicers and other service providers to the Trusts.

The engagement of Chaitman hereunder does not prohibit you from retaining
separate counsel to represent you in connection with any matters that fall within the

foregoing Scope of Worl<.

Professional Fees. We agree that the Trusts shall solely be responsible for the
payment of the legal fees and expenses of Chaitman for legal work performed in
connection with this engagement We further agree that WTC is not responsible to
pay the legal fees and expenses of Chaitman incurred in connection with this

 

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Page 2
October 12, 2015

engagement You acknowledge that Chaitman shall have no obligation to provide legal
services hereunder in the event that there are insufficient funds to pay Chaitman

Our fees are based on the value of our services determined in accordance with the
New York State Code of Professional Responsibility and our hourly billing rates set from
time to time for each attorney and paralegal. My current rate is $775. The billing rates
for other attorneys range from $300 to $750, and for paralegals from $165 to $300. We
usually adjust our hourly rates annually.

B. Costs and Expenses. We charge separately for necessary and reasonable
costs and expenses There are no mark~ups on our out~ol"~pocket expenses

C. Billing. We generally submit bills for services rendered and expenses
incurred on a monthly basis. All bills will include a summary statement of the services
rendered during the relevant period and the amount of reimbursable expenses Payment
shall be due upon receipt of such bill and in any event, will be made within 30 days of

receipt of any such bill.

D. Mandate. ln performing services for you, we will conduct ourselves in
accordance with the New York State Code of Professional Responsibility. You may
discharge us at any time, but if you elect to discharge us, the Trusts will remain obligated
to pay promptly all invoices for services rendered and disbursements incurred prior to our

discharge

E. B'lling Disputes. lf you at any time have a question about our invoices
that we cannot resolve amicably, and the amount in dispute is between $1,000 and
$50,000, you have the right to have the matter resolved through mandatory arbitration
under the New York State Fee Dispute Resolution Program. l-lowever, this Program is
not available for claims involving substantial legal questions (including alleged
malpractice or misconduct), or where you seek relief other than adjustment of the fee, or
where no attorney’s services have been rendered by us to you for more than two years. lf
you desire, we can provide you with further information concerning your right to

arbitrate

F. Based on information known to date, Chaitman does not know of any
conflict in representing the Trusts and/or WTC as Trustee as set forth herein. We agree
to notify you in the event we become aware of such conflict between one or more parties

hereto.

The Trusts, WTC, and Chaitman shall have the right to terminate this engagement
at any time by reasonable written notice. lf we disengage, we and you each understand
that you will take whatever steps are necessary to evidence that we are free from any
obligation to perform further

lt` the above terms are acceptable to you, please acknowledge that you have
reviewed them, understand them, and wish to retain Chaitman on the basis set forth
herein by signing and delivering to me the enclosed copy of this letter. We are pleased to
provide legal services to you and look forward to working with you,

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Page 3
October 12, 2015

'l`his letter is executed and delivered by WTC, not individually or personally but
solely as Owner Trustee of the ’l`rusts. Nothing herein contained shall be construed as
creating any liability on WTC, individually or personally, for the payment of any
indebtedness or expenses of the Trusts. ln executing this letter and taking the actions
contemplated lrereunder, WTC is taking actions that are covered by the fee and
indemnification provisions set forth in the various governing documents of the Trusts.

Very truly yours,

Cl'iAl'l`l\/lAN, LLP
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By: l, §
Name: Lanc 'btthoffer
'l`itle:

AGREED T():

WILMINGTON TRUST COMPANY,

not in its individual capacity but solely in its
capacity as Owner Trustee for and on behalf of the
Trusts listed on Annex A

N_am@¢ Adam B. S€oz/zafava
Trtle: \/ioe President

/Vc)t)c/W a ti /o\ v l il %//
Dated as of: Octti`b’“et:w, 2015 '

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GCtober 12, 2015

ANNEX A

The National Collegiate Master Student Loan Trust l
The National Collegiate Student Loan Trust 2003-l
The National Collegiate Student Loan Trust 2004-l
The National Collegiate Student Loan Trust 2004~2
The National Collegiatc Student Loan Trust 2005-l
The National Collegiate Student Loan Trust 2005-2
The National Collegiate Student Loan Trust 2005-3
The National Collegiate Student Loan '1` rust 2006-l
The National Collegiate Student Loan Trust 2006~2
The National Collegiate Student Loan Trust 2006-3
The National Collegiate Student Loan Trust 2006-4
The National Collegiate Student Loan Trust 2007~1
The National Collegiate Student Loan Trust 2007-2
The National Collegiate Student Loan Trust 2007-3
The National Collegiate Student Loan Trust 2007-4

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EXHIBIT B

 

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VCG l vANTAoE
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SBCUR'ITIES ~ _ Gs'o:ur

December 8, 2017

Via Elecrronic Mail

GSS Data Services, lnc.

402 West Broadway, 20th Floor
San Diego, Califomia 92101
Attn: Tristan Fleming, Esq.
tfleming@goalsolutions.com

Re: Payment of Trust Legal Expenses

Dear Mr‘. Flem.ing:

Wc write to you pursuant to ongoing discussions and communications concerning the
payment of legal fees and expenses for the National Collegiate Student Loan Trusts listed on
Schedule 1 (“Trusts”). As you know, the Owners of the beneficial interests of the Trusts
(“Owners”)f provided an Authorization and Direction Letter to Wilmington Trust Company, as
Owner Trustee, to pay certain of the Trusts’ legal fees and expenses on November 13, 2017.
Attachcd to that Authorization and Direction Letter were invoices for authorized legal fees due to

the Trusts’ attorneys pursuant to an engagement letter signed by Chaitman LLP and the Owner

Trustee. The Owner Trustee provided these invoices to you, the Adininistrator, on November
17, 2017, via electronic mail.

Wc refer you to the Trust Related Agreements (including me Administration Agreements,
Trust Agreements,' and Indentures), Which are contracts that outline the various duties and
responsibilities of agents and servicers of the Trusts Pursuant to the Trust Related Agreements,
you, as the Administrator, agree to perform the duties of the Issuer (the Trusts listed in Schedule
1). See Indenture § 3.07(b); Admjnistration Agreement 11 l(a)(i). Pursuarrt to Section 3.07(c) of
the lndenture, the issuer shall “ent`orce all of its rights under this Indenture and the Basic
'Docurncnts. . . and will punctually perform and observe all of its obligations and agreements
contained in this lndenture, the other Basic Docnments and in the instruments and agreements
included in the Indenture Trust Estate. . . .” Pursuant to Trust Agreements §§ 9.03(b) and 10.01,
the Owner Trustee executed a retainer agreement with Chaitman LLP to perform certain legal
services for the Trusts. Pursuant to that agreement, which the Owner Trustee has given you,
payment of all such invoices is due within 30 days of receipt thereof

 

1 Attaehed as Exhibit A is an Order entered by Vice Chancellor loseph R. Slights I[l, Court of
Chancery for the State of Delaware, determining the ownership of the beneficial interests in the

Trusts.

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GSS Data Sei'viccs, Inc.
December 8, 2017
Page 2

The Owners of the beneficial interests of the Trusts sent an Authorization and Dii'eotion
letter to the Owner Trustee on November 14, 201 7, to pay certain of the Trusts’ legal fees and
expenses Because the Administrator is responsible for performing all ofthe lssuer’s
obligations, Administration Agreement 1[ _l(a)(i), and because the Indenture provides that the
Issuer is responsible for “punctually perform[ing] and observ[ing] all of its obligations and

l agreements contained . . in the instruments and agreements included in the indenture Trust
Estate,” Indenture § 3.07(c), the Administratnr must ensure diet these invoices are paid by
Decernber 15, 2017, or it Will be responsible for breaching the retainer agreement and,
accordingly, violating its duties and responsibilities under the Adrninistration Agreement and
Indenture '

Accordingly, this letter serves to direct you, the Administrator, pursuant to Paragraph
l(d)(i) of the Administration Agreements, to remit the invoices to the Indenture Trustee for
payment immediately without further delay2

Pursuant to the Administration Agreement 11 l(a)(li)(B), you, as the Administrator, have
agreed to indemnify the lssuer, Owner Trustee, and their respective agents for any losscs,
liability, or expense, including reasonable attorneys’ fees and expenses, incurred arising out of
your willful misconduct, negligence or bad faith in the performance of your duties, as
Administrator. In the event you do not take appropriate action to ensure that the 'l`rusts’ legal
expenses are paid, and the Trusts need to take further legal action, you, the Administrator, will be
responsible for costs and fees resulting from any former legal action

Furtber, until the invoices referenced above are paid, you, as Achninisu'atcr, are further
directed, pursuant to (and Without limitation) Section l(d)(ii) of the Administration Agreements,
to cease payments to all other counsel, except for counsel engaged pursuant to Section l(d)(i)(B)
to initiate claims or lawsuits in the ordinary course of business by the lssuer (as described in the ,
applicable section in the Administration Agreement) until die Owners confirm to the
Administrator in writing that the invoices for the Trusts’ legal expenses referenced above have
been paid. '

Additionally, you, the Adminisu~ator, are further directed pursuantto Sections 2 and 4 of
the Administration Agreements to fumish to the Owners Within live days all invoices from, and
records of payment to, any lawyer or law firm that has been paid by, or has requested payment
from, the Trusts or any ofthem, from November 22, 2015, through the date such documents are
provided

 

2 Rather than remit the invoices to the Indenun‘e Trustee directly, the Administi"ator may
alternatively issue a direction to the Owner Trustee to remit the invoices for payment pursuant to
Section 8.02(d)(l) of the Indenture lf you, the Administrator, elect this option, and the Owner
Trustee ignore that direction, We iiirther direct you, the Administratcr, to bring a suit against the
Owner Trustee to compel performance immediately, as authorized under Paiagraph l(d)(i)(B) of
the Administration Agreement

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(551) 330-5299

 

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GSS Data Services, lnc.
December 8, 2017
Page 3

Finally, you, the Adminlstrator, are hereby directed to take any and all additional actions
as may be necessary, advisable, or appropriate to carry out the purpose and intent of this letter,
including preparing any and all dii ection, notification or other communications to the Indenture
Trustee as necessary or required pm suant to the coiresponding Indenture (collectively,

“Necessary Actions”).

Not_withstanding the foregonig, the Adrninistcator shall not be individually liable for any
fees and expenses pursuant to Section 1(a)(ii)(B) of the Administra'cion Agreement to the extent
that the Administrator, in good faith, follows these instmctions, and instructs the Indenture
Trustee inwriting to distribute the funds to pay such fees and (a) such instmetion is not followed
by the b1de11tmc Trustee, or (b) the Tiust Property is unavailable to satisfy such obligations; but
in any such instance the refusal or unavailability shall not relieve the Administmtor of
complying With the directions herein The Administrator may rely on the accuracy and
completeness of all statements and certifications herein m connection with the taking of all

- Neoessary A_ctions.

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Decernber 8, 2017 - §
Page 4 1

Sincerely,
NC OWNERS LLC as Owner

By: NC RESIDUALS OWNERS TRUST, (on behalf of itself, as Owner cf certain Trusts, and as
Sole Member on behalf ofNC Owners, LLC)

By: VCG Secur`lties, LLC, as its Agent

'\

1 .,;~ - ./ l

By : / -.. ___ _1_,

_Name: Donald Uderitz
Title: Authorized Signatory

Pursuaut to Section 3.0'7(e) of the Amended and Restated Trust Agreement (the “Declaration”)
of NC Residuals Owners Trust dated May~ 14, 2009, the undersigned responsible officer of VCG
Securities LLC, as Agent, hereby certifies that all conditions precedent, if any, provided for in
the Declaration end any applicable Transaetion Document (as Deiined in the Declsration)
relating to the proposed action have been complied With,

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By:./ . . . 1 -

Narne: Donald Uderitz
Title: Authorized Signatory

PATH]\/IARK ASSOCIATES, LLC

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!j‘"Z l ~»e~'“"“
By:/"~./' /`j 5 '

Name: Alberto Moris
Title: Authorized Signatory

     

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1551)330.0999

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Schedule 1

 

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1 id : ~ ~ . l ,~, l

Trusts

The National Collegiate Master Student Loan Trust I, created pursuant to the Trust Ag) cement
dated as of November 1, 2001

National Collegiate Student Loan Tiust 2003-1, created pursuant to the Trust Agreement dated as
ofDecembei‘ l, 2003

Naticual Collegiate Student Loan Trust 2004~1, created pursuant to the Trust Agreement dated as
of Tune10,2004 .

National Collegiate Studeni Loan Tiust 2004~2, created pursuant to the Trust Agieement dated as
of October 28, 2004

National Collegiate Student Loan T1ust 2005~1, created pursuant to the Trust Agreement dated as
of February 23, 2005

Naiional' Collegiate Student Loan Trust 200 5~2, created pursuant to the Trust Agreement dated as
of June 9, 2005

National Collegiate Student Loan Trust 2005-3, created pursuant to the Trust Agreement dated as
of October 12, 2005

National Collegiate Student Loan Trust 2006~1, created pursuant to the Trust Agreement dated as
of Mareh 9, 2006

National Collegiate Student Loan Tiust 2006-2, created pursuant to the Trust Agreement dated as
ofJune 8, 2006

National Ccllegiate Student Loan Trust 2006-3, created pursuant to the Trust Agreement dated as
of September 28, 2006

National Collegiate Student Loan Trust 2006~4, created pursuant to the Trust Agreement dated as
ofDecernber 7, 2006

National Collegiate Student Loan Trust 2007-1, created pursuant to the Trust Agreement dated as
ofMarch 8, 2007 _

National Collegiate Student Loan Trust 2007~2, created pursuant to the Trust Agreement dated as
Of June 14, 2007

National Collegiate Student Loan Trust 2007-3, created pmsuant to the Trust Agreement dated as
of September 5 2007

Natlonal Collegiate Student Loan Trust 2007~4, created pursuant to the Trust Agreement dated as
of September 1 l, 2007

